            Case 1:14-cr-00196-LJO-SKO Document 61 Filed 01/06/15 Page 1 of 2



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 6 United States of America

 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                              CASE NO. 1:14-cr-0196 LJO-SKO
12                                 Plaintiff,
                                                            STIPULATION REGARDING
13                 v.                                       CONTINUANCE; ORDER
14   LUIS RICARDO ESLAVA-CORRAL,
15                                 Defendant.
16
                                                STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant, by
18
     and through hiS counsel of record, hereby stipulate as follows:
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20          1.      By previous order, this matter was set for sentencing on January 12, 2015.

21          2.      By this stipulation, the parties move to vacate the current sentencing date and
22 continue the matter to March 2, 2015, at 10:15 a.m., before U.S. District Judge Lawrence J. O’Neill

23
     in order to effectuate the terms of the plea agreement.
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          Case 1:14-cr-00196-LJO-SKO Document 61 Filed 01/06/15 Page 2 of 2


     IT IS SO STIPULATED.
 1

 2 DATED:       January 5, 2015.   Respectfully submitted,
 3                                 BENJAMIN B. WAGNER
                                   United States Attorney
 4

 5                                 /s/ Karen A. Escobar___________________
                                   KAREN A. ESCOBAR
 6                                 Assistant United States Attorney
 7
     DATED:     January 5, 2015.
 8
                                   /s/ Kyle Humphrey _____________
 9                                 KYLE HUMPHREY
                                   Counsel for Defendant Eslava-Corral
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11
                                          ORDER
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13
     IT IS SO ORDERED.
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15     Dated:   January 5, 2015                    /s/ Lawrence J. O’Neill
                                              UNITED STATES DISTRICT JUDGE
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